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    AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                     MAY 0 5 2017
                                      United States District Court
                                                                                                               CLERK US     I HlCl COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                                 SOUTHERN DiS1 R'Ot OF CALIFORNIA
                                                                                                            BY                        DEPUTY
                UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE"
                           V.                                           (For Offenses Committed On or After November 1, 1987)
              GEORGE K. REESE PROFESSIONAL
              CHIROPRACTIC CORPORATION (2)                                 Case Number:         15 CR2822-CAB

                                                                        ROBERT H. REXRODE
                                                                        Defendant’s Attorney
    REGISTRATION NO.               N/A

    □-
    THE DEFENDANT:
    M pleaded guilty to count(s)         ONE (1) OF THE NINE-COUNT INDICTMENT

    □ was found guilty on count(s)
        after a plea of not guilty.
    Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
    Title & Section                  Nature of Offense                                                                  Number(s)
    18 USC 371                       CONSPIRACY TO COMMIT HONEST SERVICES MAIL                                             1
                                     FRAUD, MAIL FRAUD, AND TO VIOLATE THE TRAVEL
                                     ACT




        The defendant is sentenced as provided in pages 2 through     __           4           of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
    □ The defendant has been found not guilty on count(s)
    [El Count(s)     2-9 OF THE INDICTMENT                        are         dismissed on the motion of the United States.

          Assessment: $400.00 - Waived by the court.
    IS]

    M   See fine page          □ Forfeiture pursuant to order filed                                       , included herein.
           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
    any material change in the defendant’s economic circumstances.

                                                                        Mav 4. 2017
                                                                        Date of Impo^tuon/of Sentence


                                                                        HON. CATHY ANN BENCIVENGO
                                                                        UNITED STATES DISTRICT JUDGE


                                                                                                                       15CR2822-CAB
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                                                                     PROBATION
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994\
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drag tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
□         substance abuse. {Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
□         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
□         Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
□         resides, works, is a student, or was convicted of a qualifying offense. {Check if applicable.)
          The defendant shall participate in an approved program for domestic violence. {Check ifapplicable.)
□
          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
     13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
            with such notification requirement.

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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. Pursuant to 18 U.S.C. § 3563(a)(1), any sentence of probation shall include the condition that the
        organization not commit another federal, state, or local crime during the term of probation.

     2. The organization shall notify the court or probation officer immediately upon learning of (A) any material
        adverse change in its business or financial condition or prospects, or (B) the commencement of any
        bankruptcy proceeding, major civil litigation, criminal prosecution, or administrative proceeding against
        the organization, or any investigation or formal inquiry by governmental authorities regarding the
        organization.

     3. The organization shall submit to: (A) a reasonable number of regular or unannounced examinations of its
        books and records at appropriate business premises by the probation officer or experts engaged by the
        court; and (B) interrogation of knowledgeable individuals within the organization. Compensation to and
        costs of any experts engaged by the court shall be paid by the organization.



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                                                  FINE

The defendant shall pay a fine in the amount of          $4,552.00             unto the United States of America.



Payment of the fine shall be through the Clerk U.S. District Court. Payment of the fine shall be made during
the term of probation and paid by George K. Reese on behalf of the corporation. These payment schedules do
not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect
the fine judgment at any time.



This sum shall be paid    □     Immediately.




The Court has determined that the defendant       does not    have the ability to pay interest. It is ordered that:
IE!   The interest requirement is waived




                                                                                                      15CR2822-CAB
